On March 8, 1991, appellee, Thomas Witlicki, was convicted of two counts of rape, in violation of R.C. 2907.02, one count of gross sexual imposition, in violation of R.C. 2907.05, and one count of aggravated burglary, in violation of R.C.2911.11. He was subsequently sentenced by the Lake County Court of Common Pleas to serve a definite term of incarceration of life imprisonment. Having been convicted of a sexually oriented offense, appellee became subject to a sexual predator hearing under Ohio's version of Megan's Law, recently amended R.C. Chapter 2950.
By judgment entry filed July 1, 1997, the trial court,sua sponte, dismissed the proceedings for adjudicating appellee as a sexual predator, holding that Ohio's version of Megan's law was unconstitutional as applied to appellee. Appellant appealed, and, pursuant to this court's decision in State v.Williams (Jan. 29, 1999), Lake App. No. 97-L-191, unreported, the trial court's judgment dismissing the sexual predator proceedings is hereby affirmed on alternative grounds.
                                 ------------------------- JUDGE ROBERT A. NADER
FORD, P.J., O'NEILL, J., concur.
HON. DONALD R. FORD, P.J., HON. ROBERT A. NADER, J., HON. WILLIAM M. O'NEILL, J., JUDGES.